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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA Case No.: 23-CR-209 (CKK)
v. 18 U.S.C. § 231(a)(3)
NICHOLAS JOHN FULLER,
Defendant.

STATEMENT OF OFFENSE

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and Nicholas John Fuller (the
“Defendant”), with the concurrence of the defendant’s attorney, agree and stipulate to the below
factual basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties
stipulate that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized
people with appropriate identification are allowed access inside the Capitol.

a On January 6, 2021, the exterior plaza of the Capitol was closed to members of the
public. The grounds around the Capitol were posted and cordoned off, and the entire area as well
as the Capitol building itself were restricted as that term is used in Title 18, United States Code,
Section 1752 due to the fact that the Vice President and the immediate family of the Vice President,

among others, would be visiting the Capitol complex that day.

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3. On January 6, 2021, a joint session of the United States Congress convened at the
Capitol. During the joint session, elected members of the United States House of Representatives
and the United States Senate were meeting in separate chambers of the Capitol to certify the vote
count of the Electoral College of the 2020 Presidential Election, which had taken place on Tuesday,
November 3, 2020. This joint session of Congress was an official proceeding as that term is used
in Title 18, United States Code, Section 1512. The joint session began at approximately 1:00 PM.
Shortly thereafter, by approximately 1:30 PM, the House and Senate adjourned to separate
chambers to resolve a particular objection. Vice President Mike Pence was present and presiding,
first in the joint session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside.

5x At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd
advanced to the exterior facade of the building. Officers with the D.C. Metropolitan Police
Department were called to assist officers of the USCP who were then engaged in the performance
of their official duties. The crowd was not lawfully authorized to enter or remain in the building
and, prior to entering the building, no members of the crowd submitted to security screenings or
weapons checks as required by USCP officers or other authorized security officials.

6. At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

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attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others in the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more
than $2.9 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capitol without any
security screening or weapons check—Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that
the building was secured. The proceedings resumed at approximately 8:00 PM after the building
had been secured. Vice President Pence remained in the Capitol from the time he was evacuated
from the Senate Chamber until the session resumed.

8. The attack at the U.S. Capitol adversely affected the United States Secret Service, which
was protecting Vice President Michael Pence, and the United States Capitol Police’s protection of the
Capitol and its occupants.

9. At around 2:48 p.m., DC Mayor Muriel Bowser announced a citywide curfew
beginning at 6:00 p.m. Mayor Bowser’s order imposing a curfew in the District of Columbia

impacted interstate commerce. For example, grocery store Safeway closed all 12 of its stores in

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the District of Columbia as of 4 p.m. that day, and Safeway’s stores were supposed to close at 11
p.m.
The Defendant’s Participation in the January 6, 2021, Capitol Riot

10. On January 6, 2021, the Defendant along with his brother and nephew, Kenneth
Fuller and Caleb Fuller respectively, are captured on numerous law enforcement officers’ body
worn cameras (“BWCs”), specifically those officers working on the exterior West Plaza of the
Capitol during the riot. The Defendant is seen consistently directly in front of police lines at
various locations along the West Plaza between approximately 3:30 p.m. and 4:50 p.m. Based on
his proximity to law enforcement, the Defendant understood that law enforcement was attempting
to move the crowd away from the Capitol building. The Defendant also understood that his and
others’ presence on Capitol grounds was unlawful on January 6, 2021.

11. By shortly before 4:22 p.m., the Kenneth Fuller, Caleb Fuller, and the Defendant
had moved closer to the Capitol and were positioned near a set of concrete stairs that led to the
doors and windows of the Capitol. The Defendant and the crowd stood opposite a line of law
enforcement officers. BWC footage records law enforcement repeatedly instructing the crowd,
including the Defendant, to move back. In response, Kenneth Fuller turned to the crowd behind
him and yelled “Hey guys, they’re getting ready to push! They’re getting ready to push guys!”
The police line then moved forward, using their shields to move the crowd down the stairs.
Kenneth Fuller used his forearm and shoulder to forcefully push against the police line as the

officers attempted to move the crowd down the stairs. See Figure 1 below.

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Figure |

12. Law enforcement moved the crowd off the steps of the West Plaza in the minutes
following the 4:22 pm incident. The crowd was moved back across the West Plaza, and people
began to descend a lower West Plaza staircase as the police line moved into position at the top of
those stairs.

13. In the 4:22 pm incident described above, the Defendant had been standing directly
in front of the police line. As the officers moved forward with their shields, the Defendant made
physical contact with law enforcement. He pushed against the officers’ shields with his raised left
elbow and forearm, before turning and leaning into the shields with his back, in an apparent attempt

to prevent the forward movement of the officers. See Figures 2—4 below.

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Figure 2

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Figure 3

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Figure 4

14. BWC camera footage shows that Nicholas John Fuller began to descend the lower
West Plaza steps at approximately 4:24 pm. He stopped partway down the steps and appeared to
converse with Kenneth Fuller and Caleb Fuller. At approximately 4:26 pm, the three walk back
up the stairs towards the police line, where Nicholas John Fuller and his brother takes up a position
directly in front of the police line.

15. The Defendant, Kenneth Fuller, and Caleb Fuller began to descend the staircase,
but then stopped partway down the steps and communicated with one another. At approximately
4:26 pm, the three walked back up the stairs towards the police line and positioned themselves
directly opposite the line of officers.

16. At approximately 4:42 pm, the Defendant motioned with his hand for people to
ascend the stairs towards the police line after Kenneth Fuller announced to the crowd behind them

“we need some people up here”.

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Elements of the Offense
17, The parties agree that Civil Disorder in violation of 18 U.S.C. § 231(a)(3) requires
the following elements:

a. First, the defendant knowingly committed or attempted to commit an act with the
intended purpose of obstructing, impeding, or interfering with one or more law
enforcement officers.

b. Second, at the time of the defendant’s actual or attempted act, the law enforcement
officer or officers were engaged in the lawful performance of their official duties
incident to and during a civil disorder.

c. Third, the civil disorder in any way or degree obstructed, delayed, or adversely
affected commerce or the movement of any article or commodity in commerce, or
the conduct or performance of any federally protected function.

Defendant’s Acknowledgments
18. The defendant knowingly and voluntarily admits to all the elements as set forth
above. Specifically, the defendant admits that:

a. He committed or attempted to commit an act to obstruct, impede, or interfere with
USCP and MPD officers who were lawfully engaged in the performance of their
official duties incident to and during the commission of a civil disorder.

b. The civil disorder obstructed, delayed, or adversely affected commerce or the
movement of any article or commodity in commerce or the conduct or performance

of any federally protected function.

Respectfully submitted,

MATTHEW M. GRAVES
United States Attorney

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By:

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